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                          UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO


 UNITED STATES OF AMERICA,                        Case No. 4:12-cr-00180-BLW

                      Plaintiff,
                                                  ORDER
        v.

 JOSH P. BECKER, et. al.,

                      Defendants.


      The Court has before it Defendant’s Motion for Withdrawal of Defendant’s

Motion for bill of Particulars and Motion for Release of Grand Jury Transcript (dkt. 71).

Good cause appearing, the Court will grant the motion.

      IT IS ORDERED:

      1.       Defendant’s Motion for Withdrawal of Defendant’s Motion for bill of

               Particulars and Motion for Release of Grand Jury Transcript (dkt. 71) is

               GRANTED.

      2.       Defendant’s Motion for Bill of Particulars (Dkt. 37) and Motion ot Unseal

               Grand Jury Transcript (Dkt. 41) are WITHDRAWN.

                                          DATED: October 24, 2012



                                          B. LYNN WINMILL
                                          Chief U.S. District Court Judge
